Case 8:07-cr-00099-SDM-TBM Document 120 Filed 06/08/07 Page 1 of 27 PageID 263



                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                        TAMPA DIVISION


     UNITED STATES OF AMERICA,

                    Plaintiff,

     v.                                                          Case No. 8:07-cr-99-T-23TBM

     JORGE ARMANDO LIZARRAGA-CACERES,
     ELEAZAR CAMACHO MALDONADO,
     ROBERTO GOVEO-ZARAGOZA, and
     FRANCISCO PAUL VALDEZ-GONZALEZ,

                    Defendants.
                                                     /


                                 REPORT AND RECOMMENDATION

             THIS MATTER is before the court on referral by the Honorable Steven D. Merryday

     for a Report and Recommendation on the following motions:

             1)     Jorge Armando Lizarraga-Caceres’s Motion to Suppress
                    Statements and for Evidentiary Hearing (Doc. 73) and the
                    government’s response (Doc. 87);

             2)     Eleazar Camacho Maldonado’s Motion to Suppress Statements
                    and for Evidentiary Hearing (Doc. 81) and the government’s
                    response (Doc. 88);

             3)     Roberto Goveo-Zaragoza’s Emergency Motion to Suppress
                    Statements and for Evidentiary Hearing (Doc. 89) and the
                    government’s response (Doc. 107); and

             4)     Francisco Paul Valdez-Gonzalez’s Motion to Suppress and
                    Request for Evidentiary Hearing (Doc. 103) and the government’s
                    response (Doc. 108).

     An evidentiary hearing on the motions of Lizarraga-Caceres and Camacho Maldonado was

     conducted on May 30, 2007. An evidentiary hearing on the motions of Goveo-Zaragoza and

     Valdez-Gonzalez was conducted June 6, 2007.
Case 8:07-cr-00099-SDM-TBM Document 120 Filed 06/08/07 Page 2 of 27 PageID 264



               By these motions, each Defendant argues that post-arrest statements should be

     suppressed on the following grounds: 1) the statements were taken in violation of each

     Defendants’ rights under Miranda v. Arizona, 384 U.S. 436 (1966); 2) the waiver of rights

     was not made voluntarily; and 3) the statements were taken in violation of Rule 5 of the

     Federal Rules of Criminal Procedure and County of Riverside v. McLaughlin, 500 U.S. 44

     (1991).

               In response to the motions, the government notes that the Defendants were among

     eleven Mexican and three Panamanian crewmen arrested after the vessel they were on was

     boarded by the U.S. Coast Guard off the Pacific coast of Panama and found to contain

     approximately nineteen tons of cocaine. It maintains that these crewmen were not

     interrogated until their arrival in Tampa, Florida, and only after being duly advised of the

     Miranda warnings. As for the alleged Rule 5 argument, the government denies there was

     unnecessary delay in bringing the Defendants before the court under the circumstances that

     exist here. Further, it asserts that any claims of Fourth Amendment violations are without

     merit because the Defendants were foreign nationals in international waters and not protected

     by the Fourth Amendment to the Constitution. In any event, the government notes that a

     probable cause finding, as represented by the grand jury Indictment in this case, was made on

     March 22, 2007, prior to the Defendants’ arrival in the United States.



                                                    I.

               By way of background, each of these Defendants was a crew member on the M/V

     Gatun, a Panamanian flagged commercial freighter boarded by the United States Coast Guard

     on March 17, 2007, while traveling in the eastern Pacific. A subsequent search of closed


                                                    2
Case 8:07-cr-00099-SDM-TBM Document 120 Filed 06/08/07 Page 3 of 27 PageID 265



     containers on the vessel revealed more than nineteen tons of cocaine. As a consequence, the

     Defendants were arrested and ultimately flown to Tampa, Florida, for prosecution. They

     arrived on the evening of March 22, 2007. They all were taken to the local DEA office where

     they were interviewed. They all first appeared before a magistrate judge on March 23, 2007,

     and were provided court appointed counsel.1

                At the outset of the hearing on the motions of Camacho Maldonado and Lizarraga-

     Caceres, the prosecutor indicated that he was unaware of any statements taken as a result of

     any interrogation of these Defendants prior to their arrival in Tampa. Thus, the focus of the

     hearing was on the statements taken on the evening of March 22, 2007.

                                                   A.

                As the evidence pertains to Camacho Maldonado, the government presented

     testimony from Manuel Almaguer, a Drug Enforcement Agency (“DEA”) agent with ten

     years experience, six of which were with the Panama Express task force. Almaguer is

     Mexican born and speaks Spanish as his first language. He testified that on March 22, 2007,

     at about 8:00 p.m., he was at the DEA office to process and interview prisoners that had

     recently arrived from Panama. The prisoners arrived at the airport at about 8:00 p.m. and

     were brought to the local DEA office. He processed and interviewed two individuals,

     including Camacho Maldonado. He was assisted by Greg Ravencroft, a special agent with

     Immigration and Customs Enforcement (“ICE”). According to Almaguer, Ravencroft speaks

     “limited” Spanish. Camacho Maldonado was taken to a small interview room where he was

     initially asked booking and biographical information. Camacho Maldonado appeared to have



            1
            Of the crewman, only the Mexican nationals were transported to the United States.
     The Panamanian crewmen were released to Panamanian authorities.

                                                    3
Case 8:07-cr-00099-SDM-TBM Document 120 Filed 06/08/07 Page 4 of 27 PageID 266



     no difficulty understanding or responding to the questions. As for the interrogation,

     Almaguer indicates that Ravencroft read an advisement of rights form to Camacho

     Maldonado in Spanish. See Govt. Exh. 1 (Camacho Maldonado). According to Almaguer,

     each of the rights on the form was read to the Defendant in Spanish and the Defendant placed

     his initials next to the corresponding line on the form. As the witness described the form, it

     advised the Defendant of his right to remain silent, that anything he said could be used against

     him in a court of law, that before being questioned he had the right to consult an attorney, that

     he had the right to an attorney present during the interview, and if he could not pay for an

     attorney, if he wished, the court would assign him an attorney before having him answer any

     questions. According to the witness, Camacho Maldonado understood these rights and agreed

     to answer the questions, as indicated by an “X” he placed on the waiver of rights form. This

     advisement process took twenty minutes to complete.

              According to the witness, the Defendant never asked for an attorney and at no time

     indicated that he did not wish to answer the agent’s questions. The interview lasted

     approximately thirty minutes and was terminated by the agent.

              On cross examination, the witness was asked to translate verbatim the fifth line of

     rights. By his translation, the form said that “if you cannot pay for services of an attorney, if

     you wish so, there will be an assigned one to you before you have to answer questions.” The

     agent agreed that nowhere did the form advise the individual that such attorney would be

     “without costs” to him. Neither did the form expressly indicate that the attorney provided

     would be a “defense” attorney. Almaguer agreed with defense counsel that individuals

     brought to the United States for prosecution in these cases typically are foreign nationals with

     no knowledge of American laws or their rights under such, and that the subjects are typically


                                                     4
Case 8:07-cr-00099-SDM-TBM Document 120 Filed 06/08/07 Page 5 of 27 PageID 267



     scared. According to the agent, that is why he ad libs on these rights in order to better explain

     them to the individuals.

              The witness believed that Ravencroft was sufficiently fluent in Spanish to read these

     rights to the Defendants. If the Defendant indicates he does not understand something, it is

     Almaguer’s practice to attempt to explain the matter. Here, he could not recall the Defendant

     asking any questions. After the advisement of rights form was read to Camacho Maldonado,

     he was allowed to read it himself and he then signed it. Almaguer testified that it is his

     practice in addressing such persons to advise them that the laws in the United States are

     different, they all have rights and are equal under the law, and that everyone will get an

     attorney. He usually adds, and did so in this case, that it is to the benefit of the individual that

     he cooperates with the government and tells them what happened that led to the arrest. This

     is done before the rights form is read to the person.

              On redirect, the witness testified that Ravencroft read the Miranda form correctly

     and that the Defendant gave no indication of not understanding the form. The witness

     described Camacho Maldonado’s Spanish as “proper,” not “slang.” In response to the court’s

     question, Almaguer testified that the DEA-13 form in this case differs somewhat from the

     form used by the Federal Bureau of Investigation (“FBI”) and ICE. When asked by the court

     to translate the actual rights as stated on the form rather than his ad lib, the witness testified

     that the form advised: “You have the right to remain silent. Whatever you say can be used

     against you in court. Before asking you any questions, you have the right to consult an

     attorney. You have the right to have an attorney present during [ ] the interrogation. If you

     cannot pay for services of an attorney, and if you wish, an attorney will be assigned before [ ]

     any questions are asked.” The witness testified further that he explains to these individuals


                                                      5
Case 8:07-cr-00099-SDM-TBM Document 120 Filed 06/08/07 Page 6 of 27 PageID 268



     the nature of the Panama Express operation, the number of seizures that have been made, and

     that it is no accident that they found their vessel in the vast ocean. He also adds that it is in

     their best interest to talk to him.

              Camacho Maldonado did not testify or call any witnesses.

                                                      B.

              Regarding Lizarraga-Caceres, the government called Fundy Caraballo, an FBI

     intelligence analyst assigned to the Panama Express investigation. According to the witness,

     he has fifteen months with the FBI and formerly was with the Puerto Rican Navy for twenty-

     four years. His primary language is Spanish. On March 22, 2007, he was at the DEA office

     for purposes of processing and interviewing. One of the two persons he dealt with was

     Lizarraga-Caceres. By this witness’s account, he and ICE agent Jeremy Beal escorted the

     Defendant to an interview room. Agent Beal does not speak Spanish, so Caraballo conducted

     the interview. By his testimony, they engaged in “chit chat” at the outset. Caraballo had no

     difficulty speaking to the Defendant and the Defendant evidenced no difficulty in

     understanding him. The Defendant was responsive and logical in his conversation, his

     demeanor was appropriate to the circumstances, and on occasion the Defendant got slightly

     emotional about what was happening.

              The witness also used the Spanish version of the rights advisement form. See Gov’t

     Exh. 1 ( Lizarraga). He read the rights to Lizarraga-Caceres and then had him read the form

     himself and sign it. According to Caraballo, the advisement process took only five minutes.

     After he read the rights to Lizarraga-Caceres, Caraballo handed the form to the Defendant

     who read it, initialed each of the rights, and then signed the form agreeing to talk to the agent.

     The Defendant asked no questions and evidenced no indication that he did not understand the


                                                      6
Case 8:07-cr-00099-SDM-TBM Document 120 Filed 06/08/07 Page 7 of 27 PageID 269



     rights or the waiver. According to Caraballo, the interview lasted for slightly more than one

     hour, finishing sometime after 1:00 a.m. At no time during the interview did the Defendant

     ask for an attorney or indicate that he did not wish to answer a question, and he did not refuse

     to answer any questions.

              On cross examination, Caraballo agreed that the Spanish spoken in Puerto Rico is

     slightly different from Spanish spoken in South America. Before joining the FBI, the witness

     had no prior experience in drug interdiction cases and his training has been “on the job.” He

     has only conducted about nine interviews in Panama Express cases. According to the

     witness, his goal in conducting interviews is to obtain a factual statement and the truth from

     the defendant. Caraballo denied that he advised Lizarraga-Caceres that he was facing life in

     prison. He acknowledged, however, that he advised Lizarraga-Caceres that those who

     cooperate are able to get better deals in the sense that he will tell the prosecutor of the

     information provided and this will be viewed as a positive step. Although the witness could

     not recall his exact words, he suggested to the Defendant that he possibly might be looking at

     a better deal if he cooperated. He also advised the Defendant that the information would not

     be shared with foreign countries. This was all done before the form was presented to

     Lizarraga-Caceres.

              The witness testified that the Defendant was from Mexico and appeared to have no

     understanding of American law. Caraballo read the form to the Defendant but did not explain

     it to him. The form does not say that the person does not have to pay for an attorney, but it

     does suggest that if he could not pay for the services of a lawyer and if he wished one, one

     would be given before any questions. The witness denied that Agent Beal became angry with




                                                      7
Case 8:07-cr-00099-SDM-TBM Document 120 Filed 06/08/07 Page 8 of 27 PageID 270



     the Defendant, but he acknowledged that they challenged some of the Defendant’s statements

     that they did not believe to be true.

              Caraballo did not offer the Defendant food or water and had no knowledge whether

     the Defendant was sleepy. The statement was not recorded and the only record is that set

     forth by Agent Beal in a DEA-6 form.

              Defendant Lizarraga-Caceres testified next. He is a citizen of Mexico. On March

     22, 2007, he was interviewed after being flown to Tampa from Panama. He testified that he

     arrived at the DEA office at approximately 9:00 p.m. His clothes were taken from him and he

     was given cloth overalls and was fingerprinted. Lizarraga-Caceres testified that he and the

     others were detained on March 17, 2007, at about 9:00 p.m. They were tied to the deck of the

     boat where they were exposed to the weather. As a consequence, he was unable to sleep and

     did not actually get sleep until he was placed at Orient Road jail. By his testimony, he was

     given a sandwich on the plane from Panama but had not had other food or drink since. When

     he asked for water during the interview, he claims the agents told him he would get some after

     the interview although this did not occur.

              After waiting for about one and one-half hours, he was taken to an interview room

     where the agents read a paper to him. He indicated that the English-speaking agent became

     upset with him during the interview and spoke to him in a loud voice. This was translated by

     Caraballo who said he had to cooperate with them and insisted the correct version of what

     happened was theirs (the agents) and not the one that Lizarrago-Caceres was giving them.

     Lizarrago-Caceres testified that before he signed the paper (waiver form), he was told by the

     agent that if he made a statement and cooperated he would able to be free soon. He stated

     that the agents told him they had seized a significant amount of drugs, they were all guilty,


                                                    8
Case 8:07-cr-00099-SDM-TBM Document 120 Filed 06/08/07 Page 9 of 27 PageID 271



     and that he would be put away for twenty years. They also asked if he did not love his family.

              Lizarraga-Caceres acknowledged signing the rights advisement and waiver form. He

     indicated that he had asked to call his family because he was scared. He further indicated he

     was unfamiliar with American law. According to the Defendant, after he asked to make a

     phone call, he was told by the agents that he would get a lawyer after a hearing in court and

     the lawyer could call his family. By Lizarraga-Caceres’s testimony, the agents never told him

     he could have an attorney without having to pay for it or without cost to him. He indicated

     that he would have liked to have an attorney with him but did not know that he had the right

     to have an attorney without cost to him.

              Lizarraga-Caceres acknowledged that he can read Spanish. When asked if he read

     and understood the form, he did not specifically answer. He indicated, however, that he

     signed the form because the agent said that if he cooperated, the process would be simpler and

     he would return home sooner. He was told that because of the amount of drugs seized from

     the vessel, he would get more than twenty years in jail. By his account, he suggests that he

     only signed the form because he believed that doing so would make his situation better.

              After the interviews, when the crew was again assembled in one room, they were

     told they could call the consulate and a phone was provided.

              On cross examination, Lizarraga-Caceres admitted he had read and signed the form.

     He acknowledged that he told the agents that he was afraid for his family in Mexico, given

     the drug allegations. He indicated that the agents insisted that the drugs had been brought on

     board by “go-fast” boats even though Lizarraga-Caceres insisted he knew nothing about the

     drugs. He acknowledged that he prefaced his responses with his concerns for his family in

     Mexico. The agents asked if he was fearful for his family and was told that if he cooperated


                                                    9
Case 8:07-cr-00099-SDM-TBM Document 120 Filed 06/08/07 Page 10 of 27 PageID 272



      they could be brought to the United States and nothing would happen to them. He insisted

      that he told the agents he had nothing to do with the drugs but they continued to get upset

      with him.

                 Finally, Lizarraga-Caceres called Pedro Marino, a certified federal interpreter with

      nine years experience in the Middle District of Florida. Marino was asked to translate the

      language in the DEA-13 form used with Lizarraga-Caceres. In pertinent part, the witness

      indicated that the form stated:

                        Before asking you any questions you have to understand
                        your rights. You have the right to remain silent. Anything
                        you say can be used against you in the tribunal. Before
                        asking you any questions, you have the right to consult an
                        attorney. You have the right to have an attorney present
                        during the interrogation. If you cannot pay for the services
                        of an attorney and you wish, one would be appointed before
                        asking you any questions. Have you understood your rights?
                        Are you willing to answer some questions?

                        Waiver of Rights. I have read [or] it has been read to me, the
                        above mentioned rights. I understand what my rights are. At
                        this moment, I am willing to answer freely and voluntarily
                        any questions without the presence of an attorney.

      The witness further indicated that the form did not state that an attorney would be appointed

      “without cost.” On cross examination, the witness acknowledged that the form did say that if

      the person could not pay for an attorney, one would be provided.

                                                      C.

                 Regarding Goveo-Zaragoza, Eric Holm, an agent with the United States Coast Guard

      Investigative Services, testified that he interviewed Goveo-Zaragoza on March 23, 2007.2


             2
              At the outset of the hearing on June 6, 2007, the prosecutor again indicated that he
      was unaware of any statements taken as a result of interrogations of either Goveo-Zaragoza or
      Valdez-Gonzalez. There were conversations with Valdez-Gonzalez, who identified himself
      as captain of the vessel. According to the government, there was no effort to interrogate him

                                                      10
Case 8:07-cr-00099-SDM-TBM Document 120 Filed 06/08/07 Page 11 of 27 PageID 273



      Holm has sixteen years experience with the Coast Guard, including five and one-half years as

      a Special Agent and two years working on Panama Express investigations. He speaks

      Spanish as a second language. He developed his language skills while working with the

      Coast Guard wherein Spanish was used as his primary language. He testified that he is “fully

      fluent” in Spanish and has conducted investigations and interviews using a variety of dialects,

      including Mexican, during his Coast Guard experience.

               Holm employed Gov’t Exh. 1 (Zaragoza) to advise the Defendant of his Miranda

      rights in Spanish. The interview began at approximately 9:40 p.m. in a small interview room

      at the DEA office in Tampa, Florida. Holm was assisted by Special Agent Jeff Adams of

      ICE. By Holm’s description, Adams has a good understanding of Spanish but speaks very

      little Spanish, so Holm conducted the interview. At the outset, Holm asked the Defendant

      how he was feeling and whether he needed to use the restroom. He next reviewed

      biographical information with the Defendant and then indicated that he wished to speak with

      the Defendant but needed to advise him of his rights first. According to Holm, the Defendant

      indicated that he was feeling fine, and by Holm’s observation, Defendant was lucid, aware,

      physically well, and his responses were appropriate.

               Holm placed the rights advisement form in a position where the Defendant could

      read it and he then invited the Defendant to read along with him. By his account, Holm read

      each line of the rights form and then paused to looked up at the Defendant in case there were

      any questions. The witness believes the Defendant read along with him and that the

      Defendant understood the rights because he did not look puzzled or ask any questions about


      beyond the matters associated with the boarding and post-boarding inquiry. Thus, at present,
      the motions address only those statements taken after the Defendants’ arrival in Tampa,
      Florida.

                                                    11
Case 8:07-cr-00099-SDM-TBM Document 120 Filed 06/08/07 Page 12 of 27 PageID 274



      the rights. After reading the waiver portion of the form to the Defendant, Goveo-Zaragoza

      agreed to talk and signed the form. The advisement process took only two to three minutes to

      complete. The only question Holm recalled the Defendant asking was whether he would still

      have the right to an attorney if he waived one at that time but wanted one later.3 Holm

      advised that he would and claims he told the Defendant that he could cease the interview at

      any time if he chose.

                 At no time did the Defendant ask for an attorney. At no time did the Defendant ask

      for the questions to stop. When asked at the conclusion of the interview how he felt, the

      Defendant again indicated that he felt fine.

                 On cross examination, the witness indicated that he had conducted at least thirty to

      forty interviews using a rights advisement form, although this was the first time he had used

      this particular form (the DEA-13 form). Holm indicated that he had personal experience in

      these interdictions and agreed with counsel that a delay of five to seven days to get those

      arrested to Tampa, Florida, would not be unusual. Nevertheless, Holm did not ask the

      Defendant if he would like to postpone the interview until a later time or if he had any sleep,

      and he did not offer the Defendant any food. Holm could not recall whether he brought water

      or drinks to the Defendant but he would have if the Defendant had asked. Although the agent

      wore a firearm, he indicated it would not have been visible to the Defendant since it was

      strapped to his ankle.

                 Specifically regarding the rights form, Holm reiterated that he would have read from

      the form line by line and he likely elaborated on each line. He agreed with counsel that the



             3
              Holm was not entirely certain that it was this Defendant who asked this question, but
      he believes it was.

                                                      12
Case 8:07-cr-00099-SDM-TBM Document 120 Filed 06/08/07 Page 13 of 27 PageID 275



      form did not advise the Defendant of the right to a “free” lawyer, although the witness

      believed such was suggested. The witness further agreed that the form did not specifically

      indicate “at no cost.” Holm was unaware of the Defendant’s education or his knowledge of

      U.S. law and made no inquiry into such matters.

                  Holm himself checked both boxes in the waiver section of this form indicating that

      the Defendant had read the form and had it read to him because the witness believed that to be

      the case.

                  The witness was unaware of the conditions in which these Defendants were held

      during their transport to Tampa. By his past experience, such individuals were not allowed a

      berth on either the Coast Guard or naval transport vessels and usually were held on deck or in

      a location such as a helicopter hangar on a deck of the ship.

                  In response to questions by the court, Holm indicated that he typically would tell the

      person being interviewed that he already had one side of the story and would like to have the

      other side of the story as well. In this case, he does not recall mentioning anything related to

      cooperation and denies that any promises were made.

                  Goveo-Zaragoza did not testify or offer the testimony of any other witness.

                                                       D.

                  Regarding, Valdez-Gonzalez, William Coker, a 24-year veteran of the United States

      Coast Guard, conducted the interview. Spanish is his second language, but he has many years

      of work experience conducted in Spanish. He considers himself fluent in Spanish, both

      verbally and in writing.

                  On March 23, 2007, he and other agents were at the DEA office. When he arrived,

      all the Defendants were gathered in a conference area and being advised of their right to


                                                       13
Case 8:07-cr-00099-SDM-TBM Document 120 Filed 06/08/07 Page 14 of 27 PageID 276



      contact their consulate and given an idea of what would be happening that evening. He

      received a packet for conducting his interview and a short briefing about the case. The

      interview was accomplished in an office area that was not being occupied at that time. He

      was assisted in the interview by agent Christina Amons, who does not speak Spanish.

               Coker described Valdez-Gonzalez generally as being obviously nervous but in

      apparent good health, alert, and oriented. Coker introduced himself and Amons and told the

      Defendant there were going to conduct an interview. They discussed some biographical

      information with the Defendant and then he used Gov’t Exh. 1 (Valdez-Gonzalez) to advise

      the Defendant of his rights. Before beginning, he asked the Defendant if he could read and

      when Valdez-Gonzalez responded affirmatively, he had the Defendant read the form. Coker

      then read each line of the form to the Defendant and offered an explanation of what it meant.

      After reading each right, he then asked if the Defendant understood and if the Defendant

      responded affirmatively, he had the Defendant place his initials next to the right just

      explained. In explaining such, the witness used “simple” terms to inform the Defendant that

      he did not have to tell the agent anything, but if he did it could be used against him, and

      before he could ask any questions, the Defendant could speak to a lawyer and he could have

      one present if he wished. Finally, the witness advised that if the Defendant wanted an

      attorney and could not afford one, they would get one for him. Coker testified that the

      Defendant acknowledged each right and indicated his understanding. At the conclusion of all

      the rights, he agreed to talk to the agents. The Defendant then checked the boxes on the

      waiver portion of the form and signed his name.

               In Coker’s view, the Defendant responded appropriately throughout. He never asked

      for an attorney or for the questioning to stop. Coker denied making any threats or promises.


                                                     14
Case 8:07-cr-00099-SDM-TBM Document 120 Filed 06/08/07 Page 15 of 27 PageID 277



      Coker indicated that after the rights were read but before any questions were asked, he told

      Valdez-Gonzalez that generally the first person who accepts responsibility in these cases gets

      a lesser sentence. The Defendant agreed to talk with the agents and the interview lasted for

      one and one-half hours. At about the halfway point in the interview, the agent challenged the

      Defendant’s version, suggesting that he did not believe him. After a long pause and repeated

      urging by Coker that the Defendant needed to “tell the truth,” the Defendant changed his

      story.

               Under cross examination, the witness testified that he could not recall how the

      Defendant was dressed when he first met with him. When the agent arrived, all of the

      Defendants were in a conference room surrounded by numerous agents. The witness received

      a short briefing concerning the location of the drugs and was given a packet for the interview.

      By Coker’s testimony, the Defendant and others were brought to the DEA office for

      “interviews, prints, and photographs.” Prior to interviewing the Defendant, Coker believes

      that they allowed the Defendant to use the bathroom and they gave him water numerous times

      during the interview. The witness believed the Defendant actually read the rights advisement

      form when given the opportunity to do so. The entire interview was conducted in Spanish.

      As the interview progressed, Coker would tell Amons what was said in English. He

      acknowledged that the date on the form, placed there by Amons, might be inaccurate.

               According to Coker, there were no threats, but at some point during the interview, he

      mentioned that in his experience people got eleven to thirteen years in these cases and the

      captain normally got more. At some point in the interview, Amons wrote “20 years” in

      Spanish on a piece of paper that would have been visible to the Defendant. The witness is

      uncertain why Amons did this.


                                                    15
Case 8:07-cr-00099-SDM-TBM Document 120 Filed 06/08/07 Page 16 of 27 PageID 278



               Although the form did not specifically advise the Defendant of this fact, the witness

      claimed he told the Defendant that he could stop the interview any time if he wished. At the

      end of the interview, Coker asked the Defendant if he had anything else to tell them and when

      the Defendant said no, the interview ended.

               The witness could not recall that the Defendant refused to answer any questions

      during the interview. At the point where Coker confronted the Defendant indicating he did

      not believe his version was true, he testified that the Defendant went quiet for a time during

      which Coker told him that he needed to “tell the truth” and he asked “when the boat was

      loaded.” Finally, the Defendant responded that the boat was loaded on “Thursday,” and from

      that point forward his story about the events changed.

               Coker had no knowledge of what the Defendant experienced in the preceding week

      during his transport to Tampa and he made no inquiry into the matter.

               The Defendant did not testify or offer the testimony of other witnesses.



                                                     II.

                                                     A.

               In Miranda, the Supreme court held that, when an individual is in custody and

      subject to questioning, procedural safeguards must be employed to protect the privilege

      against self-incrimination. Miranda, 384 U.S. at 444-45. Thus, prior to any questioning, the

      individual must be advised of 1) his right to remain silent, 2) that anything he says can be

      used against him in a court of law, 3) that he has the right to the presence of an attorney, and

      4) if he cannot afford an attorney, one will be appointed for him prior to any questioning if he

      so desires. Id. at 444. While the individual may knowingly and intelligently waive these


                                                     16
Case 8:07-cr-00099-SDM-TBM Document 120 Filed 06/08/07 Page 17 of 27 PageID 279



      rights, unless such warnings and waiver thereof are demonstrated, no evidence obtained as a

      result of the interrogation may be used against the individual. Id.

               In Duckworth v. Eagan, 492 U.S. 195, 202 (1989), the Court noted that it had never

      insisted that Miranda warnings be given in the exact form described in the decision. Thus,

      “reviewing courts therefore need not examine Miranda warnings as if construing a will or

      defining the terms of an easement. The inquiry is simply whether the warnings reasonably

      ‘convey to a suspect his rights as required by Miranda.’” Duckworth, 492 U.S. at 203 (citing

      California v. Pryssek, 453 U.S. 355, 361 (1981)). As long as the warning given the individual

      “touch[es] all the bases required by Miranda,” the warning is sufficient. Id.

               The rights conveyed in the warning may be waived provided that the waiver is made

      voluntarily, knowingly, and intelligently. Moran v. Burbine, 475 U.S. 412, 421 (1986). For

      the waiver to be valid, the relinquishment of the right must have been voluntary in the sense

      that is was the product of a free individual choice rather than intimidation, coercion, or

      deception. Id. It also must have been made with a full awareness both of the nature of the

      right being abandoned and the consequences of the decision to abandon it. Id. “Only if the

      ‘totality of the circumstances surrounding the interrogation’ reveal both an uncoerced choice

      and the requisite level of comprehension may a court properly conclude that the Miranda

      rights have been waived.” Id. The government bears the burden of establishing a voluntary,

      knowing, and intelligent waiver by a preponderance of the evidence. United States v. Farris,

      77 F.3d 391, 396 (11th Cir. 1996).

                                                     B.

               Federal Rule of Criminal Procedure 5(a) states in pertinent part, “a person making an

      arrest outside the United States must take the defendant without unnecessary delay before a


                                                     17
Case 8:07-cr-00099-SDM-TBM Document 120 Filed 06/08/07 Page 18 of 27 PageID 280



      Magistrate Judge, unless the statute provides otherwise.” The purpose of the Rule is to

      prevent oppressive police interrogations and other “third-degree” tactics before bringing the

      accused in front of an officer of the court. United States v. Purvis, 768 F.2d 1237, 1238 (11th

      Cir. 1985). A violation of Rule 5(a) renders any evidence obtained during the illegal portion

      of the detention per se inadmissable without regard to proof of coercion.4 Rogers v. United

      States, 330 F.2d 535, 538 (5th Cir. 1964). The burden of proving a violation of Rule 5(a) is

      on the defendant. See United States v. Brown, 459 F.2d 319, 324 (5th Cir. 1972). However,

      if there is an unreasonable period of delay, the prosecution must demonstrate that any

      confession provided by the defendant was provided voluntarily. Frazier v. United States, 419

      F.2d 1161, 1164 (D.C. Cir. 1969).

                 In determining whether the government violated Rule 5(a), courts look at the

      reason(s) for the delay. Purvis, 768 F.2d at 1239; Rogers, 330 F.2d at 538. In Purvis, the

      court looked at such factors as the distance from the place of arrest to the nearest United

      States territory, any reasons for delay during the transport, the treatment of the defendant

      during transport and whether the defendant was improperly interrogated. Purvis, at 1239. In

      considering the “outer limits” of any necessary delay during which an interrogation will be

      permissible, the court in Rogers considered the availability of a committing magistrate, the

      length of delay before the prisoner is taken before the magistrate, and the police purpose or

      justification, if any, for the delay. Rogers, at 538. When a judicial officer is available and

      detention is prolonged for the purpose of eliciting a confession through interrogation, Rule

      5(a) is violated. Id. (citing Mallory v. United States, 354 U.S. 449 (1957)).


             4
              In Bonner v. City of Prichard, Alabama, 661 F.2d 1206, 1209 (11th Cir. 1981) (en
      banc), the Eleventh Circuit adopted as binding precedent all of the decisions of the former
      Fifth Circuit handed down prior to the close of business on September 30, 1981.

                                                     18
Case 8:07-cr-00099-SDM-TBM Document 120 Filed 06/08/07 Page 19 of 27 PageID 281



               In Purvis, the defendants were on a boat 350 miles from Key West when the boat

      was boarded and drugs were found. Purvis, 768 F. at 1239. Five days elapsed from the time

      the defendants were arrested at sea to the time they were brought before a federal magistrate.

      Id. at 1238-39. In concluding there was no unnecessary delay under Rule 5, the court

      determined that a large part of the delay was necessitated by the fact that the arrests were

      made at a significant distance from port and a portion of the delay was necessitated by the

      brief unavailability of the magistrate. Id. Additionally, the court noted that the defendants

      had not been mistreated during the delay, they were fed regularly, given mattresses to sleep

      on, and had access to bathrooms. Id. Further, there was no evidence of any improper or

      coercive interrogations; rather, the defendants were read their rights and interrogated by Coast

      Guard authorities after the arrest. Id.

               A similar result was reached in United States v. Odom, 526 F.2d 339 (5th Cir. 1976).

      There, the defendant was arrested on board a vessel and not brought before a magistrate judge

      until four days later. Id. at 341. Because he was interrogated, post Miranda, and gave a

      statement to a DEA agent, the defendant later contended he was unreasonably detained in

      order to facilitate the further investigation by the DEA in violation of Mallory. Odom, 526

      F.3d at 342. In considering the circumstances of the case, the court concluded there was no

      unnecessary delay because the defendant was arrested 200 miles from the nearest American

      territory, it was difficult if not impossible to fly him to an American port rather than

      transporting him by vessel, and he was presented before a magistrate judge immediately after

      the ship arrived in Tampa. Id. at 343.




                                                      19
Case 8:07-cr-00099-SDM-TBM Document 120 Filed 06/08/07 Page 20 of 27 PageID 282



                                                       C.

                   In Gernstein v. Pugh, 420 U.S. 103, 125 (1975), the Court held that the Fourth

      Amendment requires a prompt judicial determination of probable cause as a prerequisite to an

      extended pretrial detention following a warrantless arrest. In addressing what is prompt under

      Gernstein, the Court subsequently held “that a jurisdiction that provides judicial

      determinations of probable cause within 48 hours of arrest will, as a general matter, comply

      with the promptness requirement of Gerstein.” McLaughlin, 500 U.S. at 56. A probable

      cause determination made within 48 hours may nonetheless violate Gernstein if the arrested

      individual demonstrates that the determination was delayed unreasonably. Id. Unreasonable

      delays include those for the purpose of gathering additional evidence to justify the arrest,

      motivated by ill will against the arrested individual, or simply for the sake of delay. Id.

      However, in considering whether the delay in a particular case is unreasonable, courts must

      allow a substantial degree of flexibility. Id. Thus, courts should not ignore unavoidable

      delays in transporting arrested persons from one facility to another, handling late night

      bookings where no magistrate is readily available, obtaining the presence of an arresting

      officer who may be busy on other matters, and other practical realities. Id. at 56-57. Where

      the probable cause determination is not made within 48 hours, however, the calculus changes:

                          In such a case, the arrested individual does not bear the
                          burden of proving an unreasonable delay. Rather the burden
                          shifts to the government to demonstrate the existence of a
                          bonafide emergency or other extraordinary circumstance.
                          The fact that in a particular case it may take longer than 48
                          hours to consolidate pretrial proceedings does not qualify as
                          an extraordinary circumstance. Nor, for that matter, do
                          intervening weekends.

      Id. at 57.



                                                       20
Case 8:07-cr-00099-SDM-TBM Document 120 Filed 06/08/07 Page 21 of 27 PageID 283



               Whether or not foreign nationals arrested on foreign vessels in international waters

      may claim the benefit of this law is questionable. In United States v. Verdugo-Urquidez, 494

      U.S. 259, 271-72 (1990), the Court concluded that the text and history of the Fourth

      Amendment, as well as prior case law, dictated a holding that the Fourth Amendment did not

      apply to a search conducted in Mexico upon a Mexican citizen with no voluntary attachment

      to the United States. More recently, the First Circuit, citing Verdugo-Urquidez, held that the

      Fourth Amendment was not implicated where a search and seizure of non-resident aliens was

      effected by the United States Coast Guard on a ship located in international waters. United

      States v. Bravo, __ F.3d __, 2007 WL 1532624, *5 (1st Cir. 2007).



                                                    III.

                                                     A.

               As for the alleged Miranda violations, the testimony supports the following findings

      and conclusions. The Defendants, Mexican citizens, were arrested on board a foreign-flagged

      vessel on March 17, 2007, while traveling in international waters. Thereafter, until they were

      flown to Tampa, they were held on the boat under conditions that likely made sleep difficult.

      On March 22, 2007, they were flown into Tampa, Florida, arriving at approximately 8:00 p.m.

      They were transported to the local DEA office for interviews, fingerprinting, and

      photographs. Prior to the commencement of these interviews, each of the Defendants was

      read, in Spanish, the rights as they are set forth on the DEA-13 form. The proper translation

      of the rights as set forth on that form is as provided by Pedro Marino. As so translated, the

      rights given touch on all of the bases required by Miranda. While it is accurate that the rights

      forms employed here did not expressly say that a “defense” attorney would be appointed or


                                                     21
Case 8:07-cr-00099-SDM-TBM Document 120 Filed 06/08/07 Page 22 of 27 PageID 284



      that the attorney would be “without cost” or would be “free,” it did adequately convey the fact

      that each Defendant could have an attorney appointed to assist him before any questioning

      even if he could not pay for one.

                    It is worth noting that the agents’ testimony is essentially unrefuted concerning their

      use of the rights form to administer the Miranda warnings to each Defendant. As for

      Camacho Maldonada, Goveo-Zaragoza, and Valdez-Gonzalez, there is nothing to contradict

      the agents’ testimony that each was read his rights and each acknowledged his understanding

      of them before any questioning began.5 While Lizarraga-Caceres testified, he did not deny

      that he was advised of the rights on the form, and while he suggests that he did not know he

      could have had an attorney present and would have liked one to be present, I find this less

      than fully credible.

                    I conclude that the Miranda warnings were properly given prior to any interrogation

      and, as given, were adequate to satisfy the requirements of Miranda. Thereafter, each of the

      Defendants evidenced his understanding of the Miranda rights and agreed to speak with the

      agents.

                    The waiver issue is slightly more problematic. As stated above, the initial inquiry on

      the adequacy of the waiver requires consideration of whether the individual relinquished his

      rights voluntarily in the sense that it was the product of a free and deliberate choice rather

      than intimidation, coercion or deception. See Moran, 475 U.S. at 421. Here, there is no

      evidence of intimidation beyond that inherent in this setting and Lizarraga-Caceres’s claim


                5
               General testimony that the individuals brought into this district on such “boat cases”
      are foreign nationals who typically do not speak English and who have little, if any,
      knowledge or understanding of U.S. laws, and typically are scared, while undoubtedly
      accurate, does not dictate a finding that such persons in an individual case are incapable of
      understanding the rights guaranteed by Miranda.

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Case 8:07-cr-00099-SDM-TBM Document 120 Filed 06/08/07 Page 23 of 27 PageID 285



      that Agent Beal spoke to him in a loud voice (during the interview). In my view, there was

      not such intimidation in this case as would render the waivers involuntary. Nor does the

      evidence support a finding that any Defendant was deceived into waiving his rights.

               There were, however, comments made to three of the Defendants that permit them to

      claim some degree of coercion. In the case of Camacho Maldonado, he was told by Almaguer

      that it would benefit him to cooperate with the government and tell them what happened that

      lead to the arrest. As for Valdez-Gonzalez, while Coker denied making any promises or

      threats, he testified that he did say that the first person who accepts responsibility in these

      cases generally gets a lesser sentence. He testified further that at some point he would have

      specifically mentioned that, in his experience, people got eleven to thirteen years in these

      cases and the captain normally got more. He also acknowledged that agent Amons wrote “20

      years” in Spanish on a sheet of paper that the Defendant could see. In the case of Lizarraga-

      Caceres, Caraballo told him that those who cooperate are able to get better deals in the sense

      that his cooperation would be viewed as a positive step. This statement was made before the

      Defendant was advised of his rights. Lizarraga-Caceres testified that he was sleep deprived

      going into the interview by reason of his exposure to the weather during his transport while

      tied to the deck of the boat. He also claimed he was denied water. By his account, he was

      told he had to cooperate, and if he did so, he would be free soon, and he was also threatened

      that he would be put away for twenty years due to the amount of drugs seized and asked if he

      did not love his family.

               As for Camacho Maldonado and Valdez-Gonzalez, these additional comments by the

      agents are clearly insufficient to render their waiver coerced. See Bradley v. Nagle, 212 F.3d

      559, 566 (11th Cir. 2000) (suggesting that cooperation would result in speedier release did not


                                                      23
Case 8:07-cr-00099-SDM-TBM Document 120 Filed 06/08/07 Page 24 of 27 PageID 286



      constitute sufficient police overreaching or coercion to invalidate defendant’s waiver of

      Miranda rights.); United States v. Broussard, 80 F.3d 1025, 1034 (5th Cir. 1996) (promising

      leniency in exchange for cooperation did not render waiver invalid). The statement by

      Caraballo prior to giving the warnings, i.e., about Lizarraga-Caceres’s cooperation, would not

      call for a different conclusion. Nor would the fact that he was told he might get twenty years.

      See United States v. Okafor, 285 F.3d 842, 847 (9th Cir. 2002) (advising of potential sentence

      and benefits of cooperation did not render waiver invalid.) The additional statements, i.e.,

      that if he cooperated, he would be home soon, and the reference to his family and bringing

      them to the United States to protect them as an inducement to get him to talk, are more

      significant. However, it is not at all clear when these statements were made or if they were

      made to induce the waiver of his Miranda rights. In any event, considering all the evidence, I

      find it doubtful that Caraballo would have suggested that the Defendant would be home soon

      if he cooperated or that he promised to bring the Defendant’s family to the United States so

      that they would be protected. Stated otherwise, Caraballo’s testimony strikes me as more

      credible than the testimony of the Defendant. Reference to one’s family as an inducement to

      getting one to talk is a dangerous tactic. See Lynumn v. Illinois, 372 U.S. 528 (1963). While

      the question concerning his love for his family was clearly targeted at convincing the

      Defendant to cooperate, it was neither threatening nor a promise and falls short of establishing

      coercion. See United States v. Alvarez, 142 F.3d 1243 (10th Cir. 1998). Finally, as for

      Goveo-Zaragoza, there is simply no evidence of any improper threats or inducements.

                 In conclusion, I find the waivers voluntarily, knowingly and intelligently made.6


             6
              It is likely correct that the Defendants were able to get little sleep while they were
      held on the M/V Gatun. By the evidence before me, they were not given berths but instead
      held on one of the decks. However, beyond this, there is little other evidence of their

                                                      24
Case 8:07-cr-00099-SDM-TBM Document 120 Filed 06/08/07 Page 25 of 27 PageID 287



                                                      B.

               As for Defendants’ claim that their rights under Rule 5 were significantly violated

      through the unnecessary delay in bringing them into this district, as set forth below, only one

      aspect of the claim in this case is truly troubling. Here, contrary to any suggestion otherwise,

      the facts reveal a relatively swift delivery of the Defendants from the location of their arrest in

      the Eastern Pacific to Tampa, Florida. The government’s recitation in its responses to these

      motions fairly establishes why the Defendants were not here sooner, and since none of the

      Defendants suggest any circumstances calling into question the veracity of the government’s

      explanation in this case, it is accepted as correct and accurate. By this account, the

      Defendants were arrested a considerable distance from Tampa and a stop over in Panama

      during the return was necessary. On this record, I can find no intentional delay in bringing

      the Defendants to Tampa. Furthermore, while the Defendants allege harsh treatment through

      exposure and lack of sleep during the journey, this is not at all well developed by the evidence

      at the hearings. While it seems reasonable to conclude that they were uncomfortable while

      being held on the vessel, there is simply an insufficient showing that they were otherwise

      mistreated or deprived of food or water. And, while they were on the vessel in this condition,

      there was no effort to interrogate them. These conclusions militate against a finding that Rule

      5(a) was violated.

               The Defendants also complain that they were unnecessarily delayed in being brought

      before a magistrate judge once they arrived in Tampa. This is not an insignificant point, for

      as set forth above, when a judge is available and detention is prolonged for the purpose of



      treatment and no adequate showing that the waiver and any statements were coerced because
      of their physical condition or level of alertness.

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Case 8:07-cr-00099-SDM-TBM Document 120 Filed 06/08/07 Page 26 of 27 PageID 288



      eliciting a confession through interrogation, Rule 5(a) is violated. Here, it is very apparent

      that the agents took advantage of the nighttime arrival of these Defendants to conduct

      interrogations7 before bringing them before the duty magistrate judge the following day. Had

      a magistrate judge been available to conduct Rule 5(a) proceedings upon their arrival, this

      process would likely violate Rule 5. However, in this district, while at least one magistrate

      judge is on call at all times, as a practical matter one is not available to conduct an appropriate

      Rule 5(a) proceeding after the court has adjourned for the evening. Such proceedings in these

      type cases involve numerous security considerations, a time-consuming effort to find a

      sufficient number of counsel so that each Defendant is represented at the proceeding, and a

      sufficient number of interpreters to make the proceedings meaningful. Given the

      practicalities involved, the magistrate judge is unavailable in these circumstances until the

      following morning when court reconvenes.

                 Given the evidence presented, I cannot find a violation of Rule 5(a).

                                                      C.

                 As for the claim that the Defendants’ Fourth Amendment rights were violated

      because there was no prompt judicial determination of probable cause for their arrests, I find

      it unnecessary to address the legal and constitutional issues raised by the argument. Here,

      even assuming Gerstein and McLaughlin offer some benefit to the Defendants, given my

      findings that the government did not unnecessarily delay in bringing the Defendants before



             7
               Clearly, interrogation of these Defendants was the first order of business on the
      government’s agenda once they arrived in Tampa. The record shows the effort was well
      coordinated and purposeful, as one of the agents testified they were there at the DEA office to
      “interview, fingerprint and photograph.” Whether the arrival into Tampa was planned to
      occur after the adjournment of the court for the day is unknown. Were it shown to be
      intentional, a different conclusion might result.

                                                      26
Case 8:07-cr-00099-SDM-TBM Document 120 Filed 06/08/07 Page 27 of 27 PageID 289



      the court and given that the government moved expeditiously in obtaining an indictment of

      these Defendants, there was no unreasonable delay in obtaining a probable cause

      determination.8



                                                     IV.

                 For the reasons set forth above, the Defendants’ motions to suppress should be

      denied. Accordingly, it is so recommended.

                                                      Respectfully submitted on this
                                                      8th day of June 2007.




                                          NOTICE TO PARTIES
                 Failure to file written objections to the proposed findings and recommendations
      contained in this report within ten (10) days from the date of its service may constitute a
      waiver of the issues raised herein and shall bar an aggrieved party from attacking the factual
      findings on appeal and a de novo determination by a district judge. 28 U.S.C. § 636(b)(1);
      M.D. Fla. R. 6.02.



      Copies furnished to:
      The Honorable Steven D. Merryday, United States District Judge
      Joe Ruddy, Assistant U.S. Attorney
      Counsel for Defendants




             8
              In any event, this claim is likely foreclosed by Bravo and Verdugo-Urquidez.


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